    VICTIM IMPACT STATEMENT OF SARAH RANSOME TO BE READ AT THE
                 SENTENCING OF GHISLAINE MAXWELL
        It has been a long journey to bring Maxwell to justice. Sadly, the accurate count of victims

will never be known. My book "Silenced No More" chronicles it as a "journey to hell and back".

Although I have escaped the hellish trap set by Epstein, Maxwell and others, I continue, now 17

years later, to suffer from the horrific trauma it caused.

        I came to New York at age 22, wanting to start my life over after an incredibly abusive

relationship. I hoped to attend FIT and work in the fashion industry.

        Soon after arriving, I met an Epstein/Maxwell recruiter named Natalya Malyshev in a club.

She befriended me and, soon after that, arranged for me to meet Jeffery. She described him as a kind

philanthropist who could help me get into FIT and provide much-needed support, something which

was alien to me.

        Over the next seven to eight months, I became, against my will, nothing more than a human

sex toy with a heartbeat and soul for the entertainment of Epstein, Maxwell and others. Sometimes I

was subjected to sexual predation multiple times per day, both in his New York mansion and on his

private island St. Little James in the US Virgin Islands. On one visit to the island, the sexual

demands, degradation and humiliation became so horrific that I tried to escape by attempting to

jump off a cliff into shark-infested waters, but was caught by Maxwell and company moments

before jumping. At the time, the extremely risky escape seemed more appealing than being raped

one more time.

        As the evidence at the trial of Ms. Maxwell proved, and my own experience confirms,

Maxwell was Epstein’s right-hand woman. She was the manager of several recruiters and many
       others who provided the means and cover for Epstein's predation. In several instances,

Ghislaine by her own hand, forced me into Epstein’s room to be raped.

       Epstein and Maxwell were masters at finding young, vulnerable girls and young women to

exploit. Upon targeting a vulnerable girl/young woman, they would ingratiate themselves to her,

giving her compliments and small gifts, telling her how special she was. They would tell her that

Epstein was a very wealthy, generous man whose primary purpose was to help the less fortunate. He

and Maxwell were sophisticated, worldly adults with deep ties to important people, world leaders

and institutions who could give her the lifeline she needed to make her dreams reality.

       However, soon after lulling me and others into a false sense of comfort and security, they

pounced, ensnaring us in their upside-down, twisted world of rape, rape and more rape. Like Hotel

California, you could check into the Epstein-Maxwell dungeon of sexual hell, but you could never

leave. Ghislaine by her own hand, forced me into Epstein’s room to be raped.

       The manipulation, intimidation, and emotional abuse used to control the victims took many

forms. In my case, Epstein and Maxwell used my damaged upbringing, naivety, lack of a long-term

Visa, lack of education and my desire to go to FIT to manipulate and ensnare me.

       Once ensnared, to pacify and keep me, they told me that I was exceptionally intelligent and

that I had real potential to be someone and something in life; that my dreams of making my family

one day proud of me were achievable; and that Epstein and Maxwell's strong ties to FIT could make

this happen. With their help, my admission was almost assured.

       “But”, there was always a "but". First, I had to write my application, which I did; but

Maxwell had to review it and conveniently always found fault. Then another, "but”, I needed to lose

30 pounds because I was a "piglet" (Maxwell's numerous degrading descriptions of me). Epstein and
Maxwell put me on a strict Atkin's diet while simultaneously sending me to a psychiatrist who

prescribed anti-depressants (among other drugs I did not need) that caused weight gain.

         It was a classic no-win situation, and they knew it, precisely what human traffickers seek. I

never lost the weight, my application was never good enough, and it never got submitted.

         I thank Almighty God that, in 2007, I managed to escape the horror by fleeing for my life to

the UK.

         Since then, I have been coping with the daily all-consuming fear that someday Epstein and

Maxwell would harm me, my loved ones and my family, as Epstein repeatedly told me would

happen, if I ever dared to leave.

         I frequently experience flashbacks and wake up in a cold sweat from nightmares reliving the

awful experience. I am hypervigilant, experience dramatic mood changes, and avoid certain places,

situations and people. I will sometimes start crying uncontrollably and without apparent reason. I

have worked hard with several mental health professionals who have diagnosed me with extreme

symptoms of anxiety, depression, low self-esteem, PTSD, and tendencies to self-harm.

         Despite my earnest effort, I have not realized my God-given potential professionally or

entered healthy personal relationships. I have never married and do not have children, something

         I always wished for, even as a little girl. I shy away from strangers and have difficulty making

new friends because I fear they could be associated with Epstein, Maxwell and the enablers.

         To this day, I attend AA meetings, but I have had numerous relapses and know that only by

the grace of God do I continue to live. I have attempted suicide twice since the abuse—both near-

fatal.
        Last year, I travelled internationally to New York to attend Maxwell's trial. That was both

therapeutic and traumatizing. It was therapeutic to hear the testimony of the four-brave victim-

witnesses, whose experiences paralleled my own, to know that I was not alone and that our story

was finally being told for the world to hear. But it was also traumatizing to relive the experience, and

flashbacks and the nightmares have increased.

        I am grateful that the jury believed the victims and returned a guilty verdict. But a question

still tears at my soul – After all of this, how can the manager of this enormous sex trafficking

conspiracy involving so many co-conspirators that snared 100's if not 1,000s of vulnerable girls and

young women over three decades continue to maintain her innocence? Who and what institution

enabled this sex trafficking ring to continue. Why haven’t the institutions and important people that

enabled them been exposed and brought to justice? Reflecting on it, I know the answers to my

questions.

        Maxwell is today the same woman I met almost 20 years ago – incapable of compassion or

common human decency. Because of her wealth, social status, and connections, she believes herself

beyond reproach and above the law. Sentencing her to the rest of her life in prison will not change

her, but it will give other survivors and I a slight sense of justice and help us as we

        continue to work to recover from the sex-trafficking hell she perpetrated. She will never,

ever hurt another young woman or child in this lifetime. For that, I am sure.

        As for the important, high-profile enablers – governmental institutions, politicians, and very

wealthy friends of Epstein/Maxwell here and abroad – so far their stature and power have protected

them. I hope that one day they will be exposed, and we will be able to say that the United States

truly is governed by the rule of law and not by powerful people.
       To Ghislaine I say, “You broke me in unfathomable ways. But you didn't break is my spirit,

nor did you dampen my internal flame that now burns brighter than ever before!"
